            Case 4:19-cv-02375 Document 17 Filed on 09/29/20 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

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